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                Exhibit B - Affidavit of Andrea Dobin Page 1 of 2



McMANIMON, SCOTLAND & BAUMANN, LLC
427 Riverview Plaza
Trenton, NJ 08611
609.695.6070
ATTORNEYS FOR ANDREA DOBIN, CHAPTER 11 TRUSTEE

                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                             :   CHAPTER 11 OF THE BANKRUPTCY CODE
IN RE:                                       :
                                             :   Honorable Stacey L. Meisel, U.S.B.J.
Supor Properties Bergen Avenue LLC,          :
                                             :   Case No. 23-15758(SLM)
                Debtor.                      :
                                             :   AFFIDAVIT OF ANDREA DOBIN
                                             :   PURSUANT TO 11 U.S.C. § 504
                                             :
                                             :


STATE OF NEW JERSEY                  :
                                     : SS
COUNTY OF MERCER                     :


         Andrea Dobin, of full age, being duly sworn according to law, upon her oath, deposes

and says:

         1.     I am an attorney-at-law of the State of New Jersey and a member of the firm of

McManimon, Scotland & Baumann, LLC (the "Applicant"). By Order dated November 29,

2023, and effective November 15, 2023, the Court approved the retention of the Applicant as

counsel for the Chapter 11 Trustee, Andrea Dobin, in these proceedings. I make this Affidavit in

support of the Applicant's first and final application for compensation and reimbursement of

expenses.
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                Exhibit B - Affidavit of Andrea Dobin Page 2 of 2



         2.       No agreement or understanding exists or has existed between the Applicant and

any other person for a division of compensation for services rendered by the Applicant in

connection with these proceedings.

         3.       The facts set forth in the foregoing Application are true to the best of my

knowledge, information and belief.

         4.       No agreement prohibited by 11 USC §504, former Bankruptcy Rule 219 (d) or

Fed. R. Bankr. P. 2016 has been made in connection with these proceedings.




                                                     /s/ Andrea Dobin
                                                     Andrea Dobin
Sworn to and Subscribed
Before me this 5th
day of April, 2024

/s/ Terri E. Olsen
TERRI E. OLSEN
A NOTARY PUBLIC OF NEW JERSEY
COMMISSION NUMBER 2394623
MY COMMISSION EXPIRES MAR 30, 2025




4881-8563-2435, v. 1




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